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                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                  MIDLAND DIVISION

  IN RE:                                          §
  REMNANT OIL COMPANY, LLC, and                   §            Case No. 19-70106-TMD
  REMNANT OIL OPERATING, LLC                      §            Case No. 19-70107-TMD
        Debtors                                   §                   Chapter 7
                                                  §            Jointly Administered under
                                                  §            Case No. 19-70106-TMD

                                          REPORT OF SALE

         Ronald Ingalls, Trustee (“Trustee”) files this Report of Sale, and reports as follows:

         1.     The Court approved the sale of almost all of the assets of both Debtors by the

  Amended Order Granting Motion of Ronald Ingalls, Chapter 7 Trustee, to Sell Real Property Free

  and Clear of Liens, Claims, Interests and Encumbrances (Oil and Gas Interests), docket number

  452, entered on June 30, 2020.

         2.     The final payment from the buyer, Acacia Resources, LLC, was received by wire

  transfer on July 17, 2020. The total payment received was $402,000.00.

         3.     The sale was subject to certain specified liens on certain assets; the total of the

  “subject to” liens was $5,545,636.33.


                                               Respectfully submitted,


                                               /s/ Ronald Ingalls
                                               Ronald Ingalls, Trustee
                                               SBT 10391900
                                               PO Box 2867
                                               Fredericksburg, Texas 78624-1927
                                               Tel: (830) 321-0878
                                               Fax: (830) 321-0913
                                               Email: ron@ingallstrustee.com
                                               CHAPTER 7 TRUSTEE
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                                 CERTIFICATE OF SERVICE

         The signature above certifies that a true and correct copy of the foregoing document has
  been served, via CM/ECF, on Friday, June 24, 2022 on the U.S. Trustee at 615 E Houston Ste 533,
  San Antonio, TX 78205.
